
36 So. 3d 696 (2009)
Sandra MASON, Appellant,
v.
AGENCY FOR PERSONS WITH DISABILITIES, Appellee.
No. 1D09-2917.
District Court of Appeal of Florida, First District.
December 10, 2009.
Amanda E. Heystek of Advocacy Center for Persons With Disabilities, Inc., Tampa, for Appellant.
John Beranek of Ausley &amp; McMullen, Tallahassee; John Newton, General Counsel, Agency for Persons with Disabilities, and Karl David Acuff, Senior Attorney, Tallahassee, for Appellee.
PER CURIAM.
The order on appeal which denied appellant's request for a formal administrative hearing is quashed. The cause is remanded to the Agency for further proceedings consistent with Moreland v. Agency for Persons with Disabilities, 19 So. 3d 1009 (Fla. 1st DCA 2009) and the order of the United States District Court in Washington v. DeBeaugrine, 658 F. Supp. 2d 1332 (N.D.Fla.2009).
KAHN, LEWIS, and WETHERELL, JJ., concur.
